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Attachment A
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                           Zemola v. Carrington Tea Co., LLC
                United States District Court for the Southern District of California
                       January 24, 2018, Decided; January 24, 2018, Filed
                                 Case No.: 17cv760-MMA (KSC)

Reporter
2018 U.S. Dist. LEXIS 11781 *; 2018 WL 539142
                                                    moves to dismiss Plaintiffs Elizabeth Zemola
ELIZABETH ZEMOLA, et al., Plaintiffs, v.
                                                    and Matthew Beaumont's amended claim for
CARRINGTON TEA COMPANY, LLC,
                                                    injunctive relief pursuant to Federal Rule of
Defendant.
                                                    Civil Procedure 12(b)(1) based on Plaintiffs'
Counsel: [*1] For Elizabeth Zemola, on behalf       purported lack of standing to seek prospective
of themselves, all others similarly situated, and   relief. See Doc. No. 20. Plaintiffs filed an
the general public, Matthew Beaumont, on            opposition to the motion, to which Defendant
behalf of themselves, all others similarly          replied. See Doc. Nos. 23, 24. The Court took
situated, and the general public, Plaintiff: Jack   the matter under [*2] submission on the briefs
Fitzgerald, LEAD ATTORNEY, The Law Office           and without oral argument pursuant to Civil
of Jack Fitzgerald, PC, Hillcrest Professional      Local Rule 7.1.d.1. See Doc. No. 25. For the
Building, San Diego, CA; Paul K. Joseph,            reasons set forth below, the Court DENIES
LEAD ATTORNEY, The Law Office of Paul K.            Defendant's motion.
Joseph, PC, San Diego, CA; Melanie Rae
Persinger, The Law Office of Jack Fitzgerald,
                                                    DISCUSSION
San Diego, CA; Trevor Flynn, Hillcrest
Professional Building, San Diego, CA.               This action arises out of Plaintiffs' purchase of
For Carrington Tea Company, LLC,                    coconut oil products.1 Plaintiffs generally
Defendant: Ana Tagvoryan, LEAD                      allege that Defendant has engaged in
ATTORNEY, Safia G. Hussain, Blank Rome              misleading marketing and labeling of its
LLP, Los Angeles, CA.                               coconut oil products as "healthy," in violation of
                                                    California's consumer protection laws. The
Judges: HON. MICHAEL M. ANELLO, United              Court previously determined that Plaintiffs
States District Judge.                              lacked standing to pursue their claim for
                                                    injunctive relief based on the failure to allege
Opinion by: MICHAEL M. ANELLO                       that they would purchase the coconut oil
                                                    products in the future. See Doc. No. 18 at 7-8.
Opinion                                             The Court granted Plaintiffs leave to amend
                                                    their claim, and Plaintiffs filed a First Amended
                                                    Complaint setting forth the following additional
ORDER DENYING DEFENDANT'S MOTION                    allegations in support of Plaintiff Matthew
TO DISMISS CLAIM FOR INJUNCTIVE                     Beaumont's standing to seek injunctive relief:
RELIEF
                                                    1 The factual background set forth in the Court's October 30,
[Doc. No. 20]                                       2017 Order Denying Defendant's Motion to Dismiss in
                                                    Substantial Part and Denying Defendant's Motion to Stay
Defendant Carrington Tea Company, LLC               [Doc. No. 18] is incorporated by reference herein.
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    127. Mr. Beaumont remain [sic] in the             coconut oil products in the future. Defendant
    market for, and interested in purchasing          further contends that Plaintiff Beaumont's
    healthy cooking oils.                             claim — that he may once again purchase
    128. He regularly shops at stores such as         products which he alleges to be intrinsically
    Target and Sprouts, where the Products            unhealthy — is implausible.
    are sold.
                                                      As this Court previously noted, the Ninth
    129. If he encountered the Products               Circuit recently clarified the standing
    containing the same or similar health and         requirements for pursuing injunctive relief in
    wellness labeling claims in the future, [*3]      consumer protection actions. See Doc. No. 18
    they [sic] might reasonably might assume          at 8 (citing Davidson v. Kimberly-Clark Corp.,
    that the Products had been reformulated to        873 F.3d 1103 (9th Cir. 2017)). Pursuant to the
    make them healthier, or that new scientific       Ninth Circuit's holding in Davidson, "a
    evidence supported the claims, and on that        previously deceived plaintiff may have
    basis would consider and likely be                standing to seek injunctive relief" for violations
    interested in purchasing the Products             of California's consumer protection laws if the
    again. Without prospective injunctive relief      plaintiff alleges that he "faces an imminent or
    requiring Carrington to label the Products        actual threat of future harm" due to the
    in a truthful manner, he and other                defendant's false advertising. Davidson, 873
    consumers will be unable to determine             F.3d at 1115-16. The circuit court further
    whether a future label bearing similar            explained that the threat of future harm may be
    claims is valid, or whether Carrington has        "the consumer's plausible allegations that she
    simply resumed misleading behavior, and           will be unable to rely on the product's
    thus will be unable to decide how best to         advertising or labeling in the future, and so will
    spend his money.                                  not purchase the product although she would
    130. The continued use of the challenged          like to," or it may be the "consumer's plausible
    claims on the Products' labels threatens to       allegations that she might purchase [*5] the
    repeatedly infringe upon the substantive          product in the future" as she may reasonably,
    right California's consumer protection            but incorrectly, assume the product was
    statutes give plaintiffs to be free from fraud    improved. Id. at 1115.
    in the marketplace.
                                                      Here, Plaintiff Beaumont claims that he would
FAC, Doc. No. 19. Based on these allegations,         like to purchase coconut oil products in the
Plaintiffs seek an injunction preventing              future; he shops at stores that sell the
Defendant from engaging in "deceptive                 products; and absent injunctive relief, in the
practices," "in the form of modified advertising      future he may rely on Defendant's mislabeling
and a corrective advertising plan." Id. ¶¶ 150,       to conclude that the products have been
167.                                                  reformulated or otherwise proven to be
                                                      healthy, when in fact they have not. Defendant
Defendant moves to dismiss Plaintiffs'                asserts that Plaintiff Beaumont's allegations
amended claim for injunctive relief, arguing          are implausible, as there is no manner in
that the additional allegations are insufficient to   which to reformulate a single-ingredient
establish Plaintiffs' [*4] standing to bring the      product, and contradict the crux of his theory
claim. See Doc. No. 20. Defendant points out          of liability — that coconut oil products are
that Plaintiffs do not allege any facts               unhealthy. However, the Court must assume
supporting Plaintiff Zemola's intent to purchase      the truth of Plaintiffs' allegations at this stage in
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the proceedings. See Snyder & Associates                Amended Complaint within fourteen (14) days
Acquisitions LLC v. United States, 859 F.3d             from the date this Order is filed. See Fed. R.
1152, 1155 n.1 (9th Cir. 2017) (facial                  Civ. P. 12(a)(4)(A) [*7] .
jurisdictional attack under Rule 12(b)(1)
requires the court to "accept as true all facts         IT IS SO ORDERED.
alleged in the complaint and draw all                   DATE: January 24, 2018
reasonable inferences in plaintiffs' favor.").
And even if Beaumont is unlikely to purchase            /s/ Michael M. Anello
Defendant's coconut oil products in the future
given his apparent beliefs regarding the                HON. MICHAEL M. ANELLO
healthfulness of coconut oil generally, it is not       United States District Judge
entirely implausible that he might do so and
suffer harm [*6] as a result.
                                                         End of Document
As the Ninth Circuit noted in Davidson,
"[k]nowledge that the advertisement or label
was false in the past does not equate to
knowledge that it will remain false in the
future." Davidson, 873 F.3d at 1115. Moreover,
the prohibition of injunctive relief for "a
consumer who learns after purchasing a
product that the product's label is false" would
sharply undermine the purpose of California's
consumer protection laws. Id. at 1115-16
(explaining     that     California's     consumer
protection laws "would be effectively gutted"
absent injunctive relief). Based on Plaintiffs'
additional allegations, and mindful of the Ninth
Circuit's guidance in Davidson, the Court
concludes that Plaintiff Beaumont has pleaded
facts sufficient to demonstrate standing to
pursue injunctive relief. As such, dismissal is
not appropriate. See Rumsfeld v. Forum for
Acad. & Institutional Rights, Inc., 547 U.S. 47,
52 n.2, 126 S. Ct. 1297, 164 L. Ed. 2d 156
(2006) ("[T]he presence of one party with
standing is sufficient to satisfy Article III's case-
or-controversy requirement.").


CONCLUSION

For the reasons set forth above, the Court
DENIES Defendant's motion to dismiss
Plaintiffs' amended claim for injunctive relief.
Defendant must file an answer to the First
